      Case 8:15-cv-00138-VMC-TBM Document 8 Filed 03/05/15 Page 1 of 2 PageID 25

Judge James F. Holderman
Magistrate Judge Young B. Kim
Filed: 3/5/2015                     UNITED STATES JUDICIAL PANEL
Case # 15cv1978 CAC                              on
        15cv1979 FLM                 MULTIDISTRICT LITIGATION
ym

      IN RE: CAPITAL ONE TELEPHONE
      CONSUMER PROTECTION ACT (TCPA)
      LITIGATION                                                                               MDL No. 2416



                                        (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −28)



     On December 10, 2012, the Panel transferred 29 civil action(s) to the United States District Court
     for the Northern District of Illinois for coordinated or consolidated pretrial proceedings pursuant to
     28 U.S.C. § 1407. See 908 F.Supp.2d 1366 (J.P.M.L. 2012). Since that time, 50 additional action(s)
     have been transferred to the Northern District of Illinois. With the consent of that court, all such
     actions have been assigned to the Honorable James F Holderman, Jr.

     It appears that the action(s) on this conditional transfer order involve questions of fact that are
     common to the actions previously transferred to the Northern District of Illinois and assigned to
     Judge Holderman.

     Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
     Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
     Northern District of Illinois for the reasons stated in the order of December 10, 2012, and, with the
     consent of that court, assigned to the Honorable James F Holderman, Jr.

     This order does not become effective until it is filed in the Office of the Clerk of the United States
     District Court for the Northern District of Illinois. The transmittal of this order to said Clerk shall be
     stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
     Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                             FOR THE PANEL:


          Mar 05, 2015                                                           A TRUE COPY-ATTEST
                                                             Jeffery N. Lüthi THOMAS G. BRUTON, CLERK
                                                             Clerk of the Panel              -
                                                                                By: s/ YVETTE MONTANEZ
                                                                                      DEPUTY CLERK
                                                                           U.S. DISTRICT COURT, NORTHERN
                                                                                  DISTRICT OF ILLINOIS
                                                                                             -
                                                                                       March 5, 2015
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IN RE: CAPITAL ONE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)
LITIGATION                                                               MDL No. 2416



                  SCHEDULE CTO−28 − TAG−ALONG ACTIONS



  DIST     DIV.     C.A.NO.      CASE CAPTION


CALIFORNIA CENTRAL

  CAC       5       15−00047     Charles Eicher v. Capital One, National Association

FLORIDA MIDDLE                          15cv1978

  FLM       8       15−00138     Thompson v. Capital One Financial Corporation
                                      15cv1979
